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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

SOVEREIGN PEAK                                  §
VENTURES, LLC,                                  §
                                                §        Case No. 6:23-cv-759
Plaintiff,                                      §
                                                §        JURY TRIAL DEMANDED
    v.                                          §
                                                §
HMD GLOBAL and HMD                              §
GLOBAL OY,                                      §
                                                §
Defendant.                                      §


                DEFENDANT HMD GLOBAL OY’S ANSWER AND DEFENSES
                       TO SOVEREIGN PEAK VENTURES, LLC’S
                      COMPLAINT FOR PATENT INFRINGEMENT

         Defendant HMD Global Oy (“HMD Global”) hereby answers the complaint of Plaintiff

Sovereign Peak Ventures, LLC (“SVP”). To the extent not explicitly admitted in the following

numbered paragraphs, which correspond to the numbered paragraphs in the complaint, all

allegations of the complaint are denied.

                                            PARTIES

         1.      HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

         2.      Denied. No company named “HMD Global” exists in affiliation with HMD

Global Oy, and HMD Global is not aware of any unaffiliated company with that name.

         3.      Denied. No company named “HMD Global” exists in affiliation with HMD

Global Oy, and HMD Global is not aware of any unaffiliated company with that name.




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        4.      HMD Global admits that HMD Global Oy is a corporation organized and existing

under the laws of Finland, with its principal place of business at Bertel Jungin aukio 9, 02600

Espoo, Finland. HMD Global denies any remaining allegations of this paragraph.

        5.      HMD Global admits that it is a manufacturer and seller of smartphones that

distributes phones in the United States through the Florida corporation HMD America. Any

remaining allegations in this paragraph set forth arguments and legal conclusions to which no

response is required. To the extent this paragraph includes any other allegations to which a

response is required, HMD Global denies them, and specifically denies that it has committed acts

of infringement in this district or any other district.

        6.      No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global lacks sufficient knowledge or information to either admit or deny the allegations in this

paragraph of the complaint, and therefore denies them.

                                  JURISDICTION AND VENUE

        7.      To the extent the allegations in this paragraph purport to describe or quote one or

more documents, HMD Global states that those documents or webpages are the best source of

their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any other allegations to which a response is required, HMD Global denies them, and specifically

denies that it has committed acts of infringement in this district or any other district.




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          8.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that it has committed acts of infringement in this

district or any other district.

          9.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. HMD Global admits

that HMD Global Oy is a foreign corporation formed under the laws of Finland with a principal

place of business in Finland. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any other allegations to which a response is required, HMD Global denies them, and specifically

denies that it has committed acts of infringement in this district or any other district. Otherwise,

denied.

          10.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that it has committed acts of infringement in this

district or any other district.

          11.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. HMD Global admits

that its website advertises Nokia-branded products. To the extent the allegations in this



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paragraph purport to describe or quote one or more documents or webpages, HMD Global states

that those documents or webpages are the best source of their full content and context. Any

remaining allegations in this paragraph set forth arguments and legal conclusions to which no

response is required. To the extent this paragraph includes any other allegations to which a

response is required, HMD Global denies them, and specifically denies that it has committed acts

of infringement in this district or any other district.

        12.     HMD Global admits that it obtained registrations from the FCC. To the extent the

allegations in this paragraph purport to describe or quote one or more documents or webpages,

HMD Global states that those documents or webpages are the best source of their full content

and context. Any remaining allegations in this paragraph set forth arguments and legal

conclusions to which no response is required. To the extent this paragraph includes any such

allegations to which a response is required, HMD Global denies them, and specifically denies

that it has committed acts of infringement in this district or any other district.

        13.     To the extent the allegations in this paragraph purport to describe or quote one or

more documents or webpages, HMD Global states that those documents or webpages are the best

source of their full content and context. HMD Global lacks sufficient knowledge or information

to either admit or deny the remaining allegations in this paragraph of the complaint, and

therefore denies them.

        14.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. To the extent the

allegations in this paragraph purport to describe or quote one or more documents or webpages,

HMD Global states that those documents or webpages are the best source of their full content




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and context. HMD Global lacks sufficient knowledge or information to either admit or deny the

remaining allegations in this paragraph of the complaint, and therefore denies them.

      THE SOVEREIGN PEAK VENTURES PATENTS AND HOW HMD GLOBAL
                          INFRINGES THEM

       15.        HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       16.        HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       17.        HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       18.        HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

        HMD Global Infringes U.S. Patent Nos. 8,902,871, 8357,441, and 10,039,144

       19.        HMD Global admits that the face of the ’871 patent indicates that it issued on

December 2, 2014 and it is entitled “Wireless Base Station and Wireless Communication

Terminal and Wireless Communication System.” To the extent the allegations in this paragraph

purport to describe or quote information from the patent, HMD Global states that the patent is

the best source of its full content and context. HMD Global denies the allegations to the extent

they do not accurately represent the patent, and HMD Global denies any remaining allegations in

this paragraph.

       20.        No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the




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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       21.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent, and HMD Global denies any remaining allegations in this paragraph. HMD

Global lacks sufficient knowledge or information to either admit or deny the remaining

allegations in this paragraph of the complaint, and therefore denies them.

       22.     To the extent the allegations in this paragraph purport to describe or quote

information from a document, HMD Global states that the document is the best source of its full

content and context. HMD Global lacks sufficient knowledge or information to either admit or

deny the remaining allegations in this paragraph of the complaint, and therefore denies them.

       23.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       24.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       25.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       26.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       27.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.




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       28.     HMD Global admits that the face of the ’441 patent indicates that it issued on

May 31, 2016 and it is entitled “Wireless Base Station and Wireless Communication Terminal

and Wireless Communication System.” To the extent the allegations in this paragraph purport to

describe or quote information from the patent, HMD Global states that the patent is the best

source of its full content and context. HMD Global denies the allegations to the extent they do

not accurately represent the patent, and HMD Global denies any remaining allegations in this

paragraph. HMD Global lacks sufficient knowledge or information to either admit or deny the

remaining allegations in this paragraph of the complaint, and therefore denies them.

       29.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       30.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       31.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       32.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       33.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       34.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.



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       35.     HMD Global lacks sufficient knowledge or information to either admit or deny

the allegations in this paragraph of the complaint, and therefore denies them.

       36.     HMD Global admits that the face of the ’144 patent indicates that it issued on July

31, 2018 and it is entitled “Wireless Base Station and Wireless Communication Terminal and

Wireless Communication System.” To the extent the allegations in this paragraph purport to

describe or quote information from the patent, HMD Global states that the patent is the best

source of its full content and context. HMD Global denies the allegations to the extent they do

not accurately represent the patent, and HMD Global denies any remaining allegations in this

paragraph. HMD Global lacks sufficient knowledge or information to either admit or deny the

remaining allegations in this paragraph of the complaint, and therefore denies them.

       37.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       38.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       39.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or



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document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       40.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       41.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       42.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.




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       43.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       44.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       45.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

                       HMD Global Infringes U.S. Patent No. 9,620,282

       46.     HMD Global admits that the face of the ’282 patent indicates that it issued on

April 11, 2017 and it is entitled “Noncontact connector apparatus and system using inductive

coupling between coils.” To the extent the allegations in this paragraph purport to describe or

quote information from the patent, HMD Global states that the patent is the best source of its full




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content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent, and HMD Global denies any remaining allegations in this paragraph.

       47.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       48.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them, and specifically denies that any accused

products infringe any asserted claims.

       49.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. To the extent the

allegations in this paragraph purport to describe or quote information from the patent or another

document, HMD Global states that the patent or document is the best source of its full content

and context. HMD Global denies the allegations to the extent they do not accurately represent

the patent or document. HMD Global lacks sufficient knowledge or information to either admit

or deny the remaining allegations in this paragraph of the complaint, and therefore denies them.

       50.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. To the extent the

allegations in this paragraph purport to describe or quote information from the patent or another

document, HMD Global states that the patent or document is the best source of its full content

and context. HMD Global denies the allegations to the extent they do not accurately represent



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the patent or document. HMD Global lacks sufficient knowledge or information to either admit

or deny the remaining allegations in this paragraph of the complaint, and therefore denies them.

       51.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       52.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       53.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       54.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to



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the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       55.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       56.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       57.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       58.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or



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document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

                      HMD Global Infringes U.S. Patent No. 10,468,913

       59.     HMD Global admits that the face of the ’913 patent indicates that it issued on

November 5, 2019 and it is entitled “Electronic device including non-contact charging module.”

To the extent the allegations in this paragraph purport to describe or quote information from the

patent, HMD Global states that the patent is the best source of its full content and context. HMD

Global denies the allegations to the extent they do not accurately represent the patent, and HMD

Global denies any remaining allegations in this paragraph.

       60.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       61.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe. To the extent the

allegations in this paragraph purport to describe or quote information from the patent or another

document, HMD Global states that the patent or document is the best source of its full content




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and context. HMD Global denies the allegations to the extent they do not accurately represent

the patent or document. HMD Global lacks sufficient knowledge or information to either admit

or deny the remaining allegations in this paragraph of the complaint, and therefore denies them.

       62.     To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       63.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe. To the extent the

allegations in this paragraph purport to describe or quote information from the patent or another

document, HMD Global states that the patent or document is the best source of its full content

and context. HMD Global denies the allegations to the extent they do not accurately represent

the patent or document. HMD Global lacks sufficient knowledge or information to either admit

or deny the remaining allegations in this paragraph of the complaint, and therefore denies them.

       64.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them, and specifically denies that any accused

products infringe. To the extent the allegations in this paragraph purport to describe or quote



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information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       65.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

       66.    To the extent the allegations in this paragraph purport to describe or quote

information from the patent or another document, HMD Global states that the patent or

document is the best source of its full content and context. HMD Global denies the allegations to

the extent they do not accurately represent the patent or document. HMD Global lacks sufficient

knowledge or information to either admit or deny the remaining allegations in this paragraph of

the complaint, and therefore denies them.

                                 NATURE OF THE ACTION

       67.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD




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Global denies them, and specifically denies that any accused products infringe any claims of the

asserted patents.

                                      COUNT 1
                        INFRINGEMENT OF U.S. PATENT NO. 9,620,282

       68.     HMD Global repeats and incorporates by reference, as if fully set forth herein, its

answers to the allegations set forth above.

       69.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global lacks sufficient knowledge or information to either

admit or deny the allegations in this paragraph of the complaint, and therefore denies them.

       70.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent.

       71.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       72.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the




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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       73.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       74.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       75.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       76.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.




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       77.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       78.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       79.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       80.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.




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                                      COUNT 2
                        INFRINGEMENT OF U.S. PATENT NO. 10,468,913

       81.     HMD Global repeats and incorporates by reference, as if fully set forth herein, its

answers to the allegations set forth above.

       82.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global lacks sufficient knowledge or information to either

admit or deny the allegations in this paragraph of the complaint, and therefore denies them.

       83.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent.

       84.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       85.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.




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       86.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       87.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       88.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       89.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       90.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them.



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       91.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       92.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       93.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

                                    COUNT 3
                      INFRINGEMENT OF U.S. PATENT NO. 8,902,871

       94.     HMD Global repeats and incorporates by reference, as if fully set forth herein, its

answers to the allegations set forth above.

       95.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global lacks sufficient knowledge or information to either

admit or deny the allegations in this paragraph of the complaint, and therefore denies them.




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       96.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent.

       97.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       98.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       99.     No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       100.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the



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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       101.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       102.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       103.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       104.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.




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       105.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       106.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

                                    COUNT 4
                      INFRINGEMENT OF U.S. PATENT NO. 9,357,441

       107.    HMD Global repeats and incorporates by reference, as if fully set forth herein, its

answers to the allegations set forth above.

       108.    HMD Global states that this allegation is duplicative of the prior allegation, and

HMD Global repeats and incorporates by reference, as if fully set forth herein, its answers to the

allegations set forth above.

       109.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global lacks sufficient knowledge or information to either

admit or deny the allegations in this paragraph of the complaint, and therefore denies them.

       110.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to




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which a response is required, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent.

       111.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       112.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       113.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       114.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.



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       115.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       116.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       117.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       118.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       119.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the



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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       120.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

                                      COUNT 5
                        INFRINGEMENT OF U.S. PATENT NO. 10,039,144

       121.    HMD Global repeats and incorporates by reference, as if fully set forth herein, its

answers to the allegations set forth above.

       122.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global lacks sufficient knowledge or information to either

admit or deny the allegations in this paragraph of the complaint, and therefore denies them.

       123.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global states that the patent is the best source of its full

content and context. HMD Global denies the allegations to the extent they do not accurately

represent the patent.

       124.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the




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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       125.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       126.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       127.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       128.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.




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       129.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       130.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       131.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

       132.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       133.   No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the



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extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

       134.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them, and specifically denies that any accused products infringe.

                                            NOTICE

       135.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them.

       136.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. HMD Global admits

that it received correspondence from SPV on August 10, 2023, and admits that its response to

that correspondence contained the phrase “to be clear, we will not open the below link you sent

to us.” The remaining allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them, and specifically denies that any accused

products infringe.

       137.    The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any other allegations to

which a response is required, HMD Global denies them.




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                   NOTICE OF REQUIREMENT OF LITIGATION HOLD

        138.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

        139.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

        140.    No company named “HMD Global” exists in affiliation with HMD Global Oy,

and HMD Global is not aware of any unaffiliated company with that name. The allegations in

this paragraph set forth arguments and legal conclusions to which no response is required. To the

extent this paragraph includes any other allegations to which a response is required, HMD

Global denies them.

                                  DEMAND FOR JURY TRIAL

        No response is required to SPV’s demand for trial by jury. HMD Global separately

requests a jury trial on each of its defenses.

                                      PRAYER FOR RELIEF

        No company named “HMD Global” exists in affiliation with HMD Global Oy, and HMD

Global is not aware of any unaffiliated company with that name. HMD Global denies the

underlying allegations of plaintiff’s requests for relief against HMD Global, and denies SPV is




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entitled to any of the relief it requests. HMD Global requests that the Court deny all relief to

plaintiff, enter judgment in favor of HMD Global, and award HMD Global its attorneys’ fees as

the prevailing party in the action.

                                  HMD GLOBAL’S DEFENSES

       HMD Global incorporates by reference the foregoing paragraphs in their entirety and

asserts the following defenses in response to the allegations, included defenses set forth at 35

U.S.C. §282, undertaking the burden of proof only as to those defenses deemed affirmative

defenses by law, regardless of how such defenses are denominated herein. In addition to the

defenses described below, subject to its responses above, HMD Global specifically reserves all

rights to allege additional defenses that become known through the course of discovery.

                                         FIRST DEFENSE
                                         (No Infringement)

       Based on a reasonable investigation into inter alia the allegations in the complaint, HMD

Global does not infringe and has not infringed—directly, indirectly, literally, or under the

doctrine of equivalents—any valid and enforceable claim of U.S. Patent Nos. 8,902,871,

9,357,441, 10,039,144, 9,620,282, and 10,468,913 (the “Asserted Patents” and each an “Asserted

Patent”).

                                       SECOND DEFENSE
                                          (Invalidity)

       Based on a reasonable investigation into inter alia public filings, each asserted claim of

the Asserted Patents is invalid for failure to comply with one or more requirements of the patent

laws of the United States, including but not limited to 35 U.S.C. §§ 101 et seq., e.g., 102, 103,

and/or 112, and/or for otherwise being in violation of the sections of Parts I, II, and III of Title 35

of the United States Code.




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                                       THIRD DEFENSE
                                 (Prosecution History Estoppel)

       Plaintiff is estopped from construing or interpreting any claims of the asserted patents in

such a way as may cover and/or include, either literally or under the doctrine of equivalents,

HMD Global’s products, processes, services, and/or activities, and/or has waived any right to do

so by reason of cancellation, limitation, or abandonment of claims, admissions, arguments,

amendments, and/or representations made by or on behalf of the applicants in any proceedings

before the United States Patent and Trademark Office.

                                     FOURTH DEFENSE
                                  (License and/or Exhaustion)

       SPV’s claims for patent infringement are barred in whole or in part (i) to the extent that

any allegedly infringing products or services are supplied, directly or indirectly, to HMD Global

by any entities having express or implied licenses to the Asserted Patents, or by HMD Global to

any entities having express or implied licenses to the Asserted Patents, and/or (iii) under the

doctrine of patent exhaustion.

                                       FIFTH DEFENSE
                              (Limitations on Damages and Costs)

       SPV’s claims for damages for alleged infringement are limited by 35 U.S.C. §§ 286

and/or 287 and/or the doctrine of intervening rights, at least because SPV failed to provide

adequate notice to Defendant of alleged infringement and are thus barred under 35 U.S.C. § 287

from recovering damages on one or more claims on dates prior to the date of the filing of this

action. SPV is further barred by 35 U.S.C. § 288 from recovering any costs associated with this

action. In addition, SPV is precluded from recovering damages for any alleged infringement

occurring more than six years prior to the filing of this action pursuant to 35 U.S.C. § 286.




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                                          SIXTH DEFENSE
                                         (Equitable Defenses)

        SPV’s claims are barred in whole or in part under principles of equity, including but not

limited to prosecution laches, delay, waiver, implied waiver, acquiescence, estoppel, and/or

unclean hands.

                                    SEVENTH DEFENSE
                              (SPV Cannot Prove Exceptional Case)

        SPV cannot prove that this is an exceptional case justifying an award of attorney’s fees

pursuant to 35 U.S.C. § 285.

                                       EIGHTH DEFENSE
                                     (No Willful Infringement)

        Plaintiff is not entitled to a finding of willful infringement with a corresponding increase

in damages under 35 U.S.C. § 284.

                                         NINTH DEFENSE
                                         (Lack of Standing)

        Plaintiff lacks standing to bring this suit to the extent that Plaintiff and/or its

predecessors-in-interest lacked sufficient chain of title to the asserted patents. In addition,

Plaintiff lacks standing to bring this suit to the extent that Plaintiff lacks substantial rights to the

asserted patents.

                                   RESERVATION OF RIGHTS

        HMD Global reserves all defenses under Rule 8(c) of the Federal Rules of Civil

Procedure, the Patent Laws of the United States and any other defenses, at law or in equity,

which may now exist or in the future be available based on discovery, including all those

identified in the answers of the other defendants in these joined cases. HMD Global reserves its

rights to amend should it learn of additional defenses.




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                                   REQUEST FOR RELIEF

       WHEREFORE, HMD Global respectfully requests that the Court:

       (A)     Enter judgment that HMD Global does not infringe any claims of U.S. Patent

Nos. 8,902,871, 9,357,441, 10,039,144, 9,620,282, and 10,468,913 literally and/or under the

doctrine of equivalents;

       (B)     Enter judgment that U.S. Patent Nos. 8,902,871, 9,357,441, 10,039,144,

9,620,282, and 10,468,913 are invalid;

       (C)     Declare that this case is exceptional pursuant to 35 U.S.C. § 285; and

       (D)     Award HMD Global its costs, disbursements, attorneys’ fees, and such further and

additional relief as is deemed appropriate by this Court.

Date: February 16, 2024                         Respectfully submitted,

                                                 /s/ Valerie Barker
                                                ____________________________
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                                                Valerie Barker (Texas Bar No. 24087141)
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                                                Attorneys for Defendant HMD Global Oy




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                               CERTIFICATE OF SERVICE

       I certify that on February 16, 2024, I filed the foregoing document under Local Rule

CV-5(a)(7) and served it on counsel of record through the Court’s electronic filing system.

                                                 /s/ Valerie Barker
                                                 ____________________________
                                                 Valerie Barker




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